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Honorable Judge Kenneth M. Karas                                       November 4, 2020
United States District Court
Southern District ofNew York
300 Quarropas Street
White Plains, New York 10601
VIA EMAIL

                                                 Re:     United States v. Spyros Panos
                                                         18 CR 581 (KMK)


Dear Judge Karas:

       As you are aware, on October 29, 2020, after an extensive Curcio hearing, my client,
Spyros Panos, pled guilty pursuant to a written plea agreement. Now, my client advises that he
no longer wishes to have me represent him as counsel. Mr. Panos respectfully requests that the
Court assign him a CJA attorney. My client informs that he cannot afford to hire a new lawyer.

       Based upon our confidential attorney-client conversations, I join in my client' s request
that my representation be terminated and that CJA counsel be assigned immediately.

       Accordingly, I respectfully request that I be relieved as counsel and that CJA counsel be
appointed.

  Application is granted. The Court will appoint CJA
  Counsel, but asks that Mr. Fisher stay on the case
  until that lawyer is officially appointed. The Court          Respectfully Submitted,
  assumes that Mr. Fisher will ensure a smooth
                                                                - - - -/s/- - - - - - - -
  transition to new counsel and thanks Mr. Fisher for           Lawrence M. Fisher
  his work on this case.



  s~L
    11/6/20
